        Case 1:22-cv-00859-RP          Document 500        Filed 07/10/25      Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

FUND TEXAS CHOICE, et al.,                      §
                                                §
      Plaintiffs,                               §
v.                                              §    Civil Case No. 1:22-cv-859-RP
                                                §
JOSÉ GARZA, in his official capacity as         §
District Attorney of Travis County, Texas,      §
et al.,                                         §
                                                §
      Defendants.                               §


                             PLAINTIFFS’ NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs Fund Texas Choice, Lilith Fund, Frontera Fund,

Texas Equal Access Fund, Clinic Access Support Network, Buckle Bunnies, Jane’s Due Process,

and Dr. Ghazaleh Moayedi (“Plaintiff-Appellants”) appeal to the United States Court of Appeals

for the Fifth Circuit from the final judgment entered in this action on the 11th day of June, 2025

[ECF 499], and all prior decisions leading up to the final judgment, including, but not limited to,

orders entered on May 23, 2025 [ECF 496].


Dated: July 10, 2025                          Respectfully submitted,

                                              By: /s/ Elizabeth G. Myers
                                                 Jennifer R. Ecklund
                                                 Texas Bar No. 24045626
                                                 jecklund@thompsoncoburn.com

                                                    Elizabeth G. Myers
                                                    Texas Bar No. 24047767
                                                    emyers@thompsoncoburn.com

                                                    Nicole L. Williams
                                                    Texas Bar No. 24041784
                                                    nwilliams@thompsoncoburn.com
Case 1:22-cv-00859-RP   Document 500   Filed 07/10/25      Page 2 of 3




                               John Atkins
                               Texas Bar No. 24097326
                               jatkins@thompsoncoburn.com

                               Allyn Jaqua Lowell
                               Texas Bar No. 24064143
                               alowell@thompsoncoburn.com

                               THOMPSON COBURN LLP
                               2100 Ross Avenue, Suite 3200
                               Dallas, Texas 75201
                               Telephone: 972/629-7100
                               Facsimile: 972/629-7171

                               Alexandra Wilson Albright
                               Texas Bar No. 21723500
                               aalbright@adjtlaw.com

                               Marcy Hogan Greer
                               Texas Bar No. 08417560
                               mgreer@adjtlaw.com

                               515 Congress Ave., Suite 2350
                               Austin, TX 78701-3562
                               Telephone: 512/482-9300
                               Facsimile: 512/482-9303

                               Kevin Dubose
                               Texas Bar No. 06150500
                               kdubose@adjtlaw.com
                               1844 Harvard Street
                               Houston, TX 77008
                               Telephone: 713/523-2358
                               Facsimile: 713/522-4553

                               Kirsten M. Castañeda
                               Texas Bar No. 00792401
                               kcastaneda@adjtlaw.com
                               8144 Walnut Hill Lane, Suite 1000
                               Dallas, TX 75231-4388
                               Telephone: 214/369-2358
                               Facsimile: 214/369-2359

                               ALEXANDER DUBOSE & JEFFERSON, LLP

                             ATTORNEYS FOR PLAINTIFFS



                              -2-
       Case 1:22-cv-00859-RP          Document 500         Filed 07/10/25     Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2025, a copy of the foregoing was filed electronically with
the Clerk of Court, and served on all counsel of record, using the CM/ECF system.


                                                             /s/ Allyn Jaqua Lowell
                                                             Allyn Jaqua Lowell




                                               -3-
